ee iia

Colin Purrington @colinpurringten « 22h

The above claim suggests Spartan Mosquito misled states in

ariel ans cert |S eee Mtoe (ei eM cuMsel it Gece a tee PEL SET Eres eR
@lPAregion?, @EPARegions, @EPAreqion®, and @EPAnarthwast when it
estes eet Perit sete cas the CMCC ULasicl a cm estelcie ieee Cla)
equally inane idea).

oe

Pee esata
@colinpurrington

Replying to Gcollapuringion G@EPAregion? and 7 aihers

If you want to ate HTS] about Spartan Mosquito (4.5

million boxes sold!) go to the owner's Nov 13 lecture at

@linnovateMs's Accelerate conference at the Westin in

Jackson — Mr Hirsch is the Featured Innovator. He

ae received a #ochindthebusin OSs VT lke) et
Mississippit eek

pa etr LA
vale

Now ae
a 5!

Tra ad f

an 53 eh.
rece arn
pV esr:
5 71
lena

ST 2)

eg eae

EXH!

IT

 
